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    9
      Attorneys for Defendants
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   11
   12                      UNITED STATES DISTRICT COURT
   13         CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
   14
   15 In re: Hyundai and Kia Engine              CASE NO. 8:17-cv-00838
      Litigation
   16                                            Member Cases:
                                                 8:17-cv-01365-JLS-JDE
   17                                            8:17-cv-02208-JLS-JDE
                                                 2:18-cv-05255-JLS-JDE
   18                                            8:18-cv-00622-JLS-JDE
   19                                            Related Case:
                                                 8:18-cv-02223-JLS-JDE
   20
   21                                            JOINT NOTICE OF SETTLEMENT
                                                 AND STIPULATION TO
   22                                            CONTINUE HEARING
   23
                                                 The Hon. Josephine L. Staton
   24
                                                 Trial Date:          None Set
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    1        The parties in the above-captioned action and in related case, Leslie Flaherty
    2 et al. v. Hyundai Motor Company et al., Case No. 8:18-cv-02223-JLS-JDE (C.D.
    3 Cal.), are pleased to report to the Court that the parties in both actions have reached
    4 a settlement in principle.
    5        The parties are finalizing the full settlement agreement and anticipate
    6 presenting the proposed settlement with a motion for preliminary approval to the
    7 Court within the next 60 days.
    8        The parties have also notified the Judicial Panel on Multidistrict Litigation in
    9 In Re: Hyundai and Kia GDI Engine Marketing, Sales Practices, and Products
   10 Liability Litigation (MDL No. 2898).
   11        The hearing on the pending Motions to Dismiss is currently scheduled for
   12 August 30, 2019 (Dkt. No. 107). The parties are mindful that a settlement
   13 agreement in this action would obviate the need for the parties and the Court to
   14 address the pending Motion to Dismiss. Accordingly, the parties request that the
   15 Court continue the hearing date on the pending Motions to Dismiss from August 30,
   16 2019 to October 25, 2019.
   17        NOW THEREFORE, plaintiffs and defendants hereby agree and stipulate as
   18 follows:
   19        The hearing date on the pending Motion to Dismiss should be continued from
   20 August 30, 2019 to October 25, 2019.
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                              JOINT NOTICE OF SETTLEMENT AND STIPULATION TO CONTINUE HEARING
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    1 DATED: June 26, 2019                QUINN EMANUEL URQUHART &
                                          SULLIVAN, LLP
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    3
    4                                      By         /s/ Shon Morgan
    5                                           Shon Morgan
                                                Attorneys for Defendants
    6
    7 DATED: June 26, 2019                SAUDER SCHELKOPF LLC
    8
    9
                                           By         /s/ Matthew Schelkopf
   10
                                                Matthew Schelkopf
   11                                           Attorneys for Plaintiffs
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    1                                 ECF ATTESTATION
    2        I, Shon Morgan, attest that all other signatories listed, and on whose behalf
    3 the filing is submitted, concur in the filing’s content and have authorized the e-filing
    4 of the foregoing document in compliance with Local Rule 5-4.3.4(a)(2).
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    6                                         By        /s/ Shon Morgan
    7                                                   Shon Morgan

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